Case 2:96-cV-O252O-.]PI\/| Document 828 Filed 05/06/05 Page 1 of 3 Page|D 1046

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IN THE UNITED sTATES DISTRICT coURT ‘ W»-
FOR THE WESTERN DISTR:CT oF TENNESSEE 05¥‘?;1'@¥-5 w

wEsTERN DIvIsIoN ° '¥-*‘f 81 33

 

DARIUS D. LITTLE,

 

Plaintiff,
V. NO. 96~2520 Ml/P

SHELBY COUNTY, TENNESSEE,
et al.,

~_4-`_/~_/-_/-_/~._»~_/~_,~_/~_/

Defendants.

 

ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Special Master in this case, Charles Fisher, has
submitted an invoice for fees and expenses incurred in connection
with this matter for the month of April, 2005, in the amount of
53,535.40. Accordingly, the Clerk of Court is directed to send
the sum of $3,535.40 to the Special Master, Charles Fisher, at

622 South Main Street, Covington, Tennessee 38019.

r*
IT IS SO ORDERED THIS L) DAY Of May, 2005.

;Mm 'M

JON P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

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UNIED` sTATEsDISTRIC COURT - DITRICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 828 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

